Case 2:18-cv-00530-MSD-RJK Document 310-6 Filed 04/12/21 Page 1 of 8 PageID# 6759




                        EXHIBIT 22
Case 2:18-cv-00530-MSD-RJK Document 310-6 Filed 04/12/21 Page 2 of 8 PageID# 6760
Case 2:18-cv-00530-MSD-RJK Document 310-6 Filed 04/12/21 Page 3 of 8 PageID# 6761
Case 2:18-cv-00530-MSD-RJK Document 310-6 Filed 04/12/21 Page 4 of 8 PageID# 6762
Case 2:18-cv-00530-MSD-RJK Document 310-6 Filed 04/12/21 Page 5 of 8 PageID# 6763
Case 2:18-cv-00530-MSD-RJK Document 310-6 Filed 04/12/21 Page 6 of 8 PageID# 6764
Case 2:18-cv-00530-MSD-RJK Document 310-6 Filed 04/12/21 Page 7 of 8 PageID# 6765
Case 2:18-cv-00530-MSD-RJK Document 310-6 Filed 04/12/21 Page 8 of 8 PageID# 6766
